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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-496
                                           )
MARK IBRAHIM,                              )
                                           )
         DEFENDANT.                        )
__________________________________________)

          CONSENT TO MOTION OF THE GOVERNMENT
———————————————————————————————————————


       The Government’s Motion to Dismiss with Prejudice, ECF No. 115, is with the consent

of the Defense.



                                          Respectfully submitted,

                                          By Counsel:

                                                 /s/
                                          Marina Medvin, Esq.
                                          Counsel for Defendant
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on January 22, 2025, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.
                                                      /s/
                                              Marina Medvin, Esq.




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